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 2                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 3
                                      SAN FRANCISCO DIVISION
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     IN RE: FACEBOOK, INC. CONSUMER             Case No. 3:18-MD-02843-VC
 7   PRIVACY USER PROFILE LITIGATION,
 8
     This document relates to:                  DECLARATION OF STEVEN
 9                                              WEISBROT OF ANGEION GROUP, LLC
                                                RE: ACCESSIBILITY OF NOTICE AND
     ALL ACTIONS
10                                              CLAIMS PROCESS
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                                   DECLARATION OF STEVEN WEISBROT
 1   I, Steven Weisbrot, Esq., declare under penalty of perjury as follows:

 2          1.      I am the President and Chief Executive Officer at the class action notice and claims

 3   administration firm Angeion Group, LLC (“Angeion”). I am fully familiar with the facts attested to

 4   herein based upon my personal knowledge.

 5          2.      My credentials were previously reported to this Court in my initial declaration that was

 6   filed with Plaintiffs’ Notice of Motion and Motion to Certify a Settlement Class and Grant Preliminary

 7   Settlement Approval (Dkt. 1096-2) (the “Notice Plan Declaration”).

 8          3.      The purpose of this declaration is to provide the Parties and the Court with additional

 9   information about the accessibility of the notice and claims administration process to sight-impaired

10   class members, as requested by the Court during the September 7, 2023, final approval hearing.

11          4.      As reported in my Declaration of Steven Weisbrot of Angeion Group, LLC in Support

12   of Motion for Final Approval of Class Action Settlement (Dkt. 1145-2), on or about April 12, 2023,

13   Angeion      established       the   following      website    devoted      to     this    Settlement:

14   www.FacebookUserPrivacySettlement.com. The details of the forms and information that were made

15   publicly available on the Settlement Website are also reported in my prior declaration.

16          5.      The Settlement Website (including the Long Form Notice, Claim Form, Opt-out Form

17   and Objection Form), was designed to meet Level AA conformance in the Web Content Accessibility

18   Guidelines (WCAG). Id. ¶ 32. The WCAG serves as a leading guide for building ADA accessible

19   websites. Because the Settlement Website follows these guidelines, is more accessible to a wider range
20   of people with disabilities.

21          6.      Specific adherence to the WCAG guidelines included:

22                  •   Ensuring the Settlement Website has sufficient contrast to allow for individuals
                        with vision impairments to be able to easily read and understand the text;
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                    •   Designing the structure and organization of the Settlement Website to promote
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                        navigation via keyboard;
25                  •   Presenting information on the Settlement Website is using titles, headings and other
26                      HTML elements that conform to generally accepted standards to make the usage of
27                      the website logical and intuitive; and
                    •   Allowing text on the Settlement Website to be resized without impairing the layout
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                        to allow for users to zoom in.
                                    DECLARATION OF STEVEN WEISBROT
 1           7.      Through these efforts, the Settlement Website meets and exceeds the digital

 2   accessibility requirements imposed by Title I, II, & III of the Americans with Disabilities Act (ADA)

 3   and Section 504 & 508 of the Rehabilitation Act.

 4           8.      Further, though Facebook, not Angeion, implemented the in-app notice campaign to

 5   current Facebook users, it is my understanding that Facebook expends considerable effort to ensure

 6   that it is accessible by users who are sight impaired. Among other things, Facebook represents that it

 7   provides “features and technologies that help people with disabilities, such as vision loss and deafness,

 8   get the most out of Facebook.”1 The American Foundation for the Blind maintains a webpage

 9   describing how sight-impaired people can access information on Facebook. On that page, it concludes

10   that “the Facebook Accessibility Team has worked hard to make their web site and mobile apps

11   accessible to all.”2 Thus, I have reason to believe that the in-app notice program implemented by

12   Facebook was also accessible to sight-impaired Facebook users.

13           9.      Similarly, it is my understanding that many of the websites that provided earned media

14   covering the Settlement also expend considerable effort to ensure that the stories they publish on their

15   websites are accessible to people who are sight-impaired. To provide just a few examples, stories

16   about the Settlement were published on the websites of NPR, The New York Times, The Washington

17   Post, USA Today, and Yahoo! News. Dkt. 1145, Ex. I. Each of these news sites provide information

18   about how they have made the articles they publish accessible to sight-impaired users.3 I therefore also

19   have reason to believe that the articles posted on websites maintained by these news organizations, as
20   well as many others, were accessible to sight-impaired people.

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22           I hereby declare under penalty of perjury that the foregoing is true and correct.

23   Dated: September 12, 2023

24                                                                           ____________________
                                                                             STEVEN WEISBROT
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       https://www.facebook.com/help/273947702950567.
     2
       https://www.afb.org/blindness-and-low-vision/using-technology/using-social-media-visual-impairment-or-
27   blindness-0.
     3
       See https://shopnpr.org/accessibility-statement; https://help.nytimes.com/hc/en-us/articles/115015727108-
28   Accessibility; https://www.washingtonpost.com/accessibility/; https://cm.usatoday.com/accessibility/;
     https://www.yahooinc.com/accessibility.

                              DECLARATION OF STEVEN WEISBROT
